              Case 18-32106 Document 29 Filed in TXSB on 05/04/18 Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                           §
                                                     §
    ERIN ENERGY CORPORATION, et                      §                  Case No. 18-32106
    al.,1                                            §
          Debtors.                                   §                 Chapter 11
                                                     §
                                                     §         (Jointly Administered)

                         NOTICE OF HEARING ON DEBTORS’
                EMERGENCY MOTION TO EXTEND THE AUTOMATIC STAY
               AND EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS
                      AUTHORIZING USE OF CASH COLLATERAL

             PLEASE TAKE NOTICE that a hearing will be held before the Honorable Marvin Isgur,

United States Bankruptcy Judge, at the United States Bankruptcy Court, 515 Rusk, 4th Floor,

Courtroom 404, Houston, Texas 77002 on May 9, 2018 at 10:45 a.m. (CT), or at such other time

as the court may determine, on the following motions and supporting documents requesting certain

emergency relief (collectively, the “Motions”), which were filed by the Debtors in connection with

the Chapter 11 Cases:

             (i)     Debtors’ Emergency Motion for Entry of Order Pursuant to Sections 105(a) and
             362 of the Bankruptcy Code Extending the Automatic Stay [Docket No. 27]; and

             (ii)    Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing Use of
             Cash Collateral Pursuant to Section 363(c) of the Bankruptcy Code; (II) Granting Adequate
             Protection for the use thereof; and (III) Scheduling a Final Hearing Pursuant to Bankruptcy
             Rule 4001 as to Use of Cash Collateral [Docket No. 28].

             Copies of the above referenced Motions may be (i) inspected in the office of the Clerk of

the Bankruptcy Court during normal business hours; and (ii) downloaded from the Bankruptcy



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin Petroleum
Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.
        Case 18-32106 Document 29 Filed in TXSB on 05/04/18 Page 2 of 2



Court’s website at http://www.txs.uscourts.gov/bankruptcy. Please note that prior registration with

the PACER Service Center and payment of a fee may be required to access such documents.

Requests for copies of the Motions and further information regarding hearing may also be made

to proposed counsel for the Debtors using the contact information below.

       Respectfully submitted this 4th day of May 2018.

                                             Respectfully submitted,

                                             OKIN ADAMS LLP

                                      By:      /s/ Matthew S. Okin
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                                             PROPOSED ATTORNEYS FOR THE
                                             DEBTORS



                                CERTIFICATE OF SERVICE

        I hereby certify that on May 4, 2018 the foregoing Notice of Hearing was served upon
filing via the Court’s EM/ECF electronic system on all parties subscribing thereto, as well as by
regular mail on the Debtors’ Master Service List.

                                                  /s/ Matthew S. Okin              _______
                                                  Matthew S. Okin



NOTICE OF HEARING —Page 2
